            Case 3:23-cv-02374-S-BN Document 9 Filed 11/21/23                         Page 1 of 1 PageID 42
CQ!569!)Tgx/!1701;*!!Crrgctcpeg!qh!Eqwpugn


                                      WPKVGF!UVCVGU!FKUVTKEV!EQWTV
                                                            hqt!vjg
                                                 Pqtvjgtp Fkuvtkev qh Vgzcu
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                        Orlando Greene                         *
                              Plaintiff                        *
                                 x/                            *      Ecug!Pq/     3:23-cv-02374-S-BN
            Velocity Portfolio Group Inc., et al.              *
                            Defendant                          *

                                               APPEARANCE OF COUNSEL

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          K!co!cfokvvgf!qt!qvjgtykug!cwvjqtk|gf!vq!rtcevkeg!kp!vjku!eqwtv-!cpf!K!crrgct!kp!vjku!ecug!cu!eqwpugn!hqt<

          Radius Global Solutions LLC                                                                                  /


Fcvg<          11/21/2023                                                             /s/ Dayle M. Van Hoose
                                                                                         Attorney’s signature


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